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10                                 UNITED STATES DISTRICT COURT

11                                        DISTRICT OF NEVADA
12
13    DALE E. FREDERICKS,                                   Case No.: 3:23-cv-00039-LRH-CLB
      an individual,
14
                             Plaintiff,                     ORDER GRANTING
15                                                          STIPULATION AND ORDER TO
16          v.                                              EXTEND PENDING MOTION
                                                            DEADLINES
17    RICHARD D. LEE and THOMAS
      L. KIRKHAM, JR., individuals                          (FIRST REQUEST)
18
                                 Defendants.
19
20    ____________________________________/

21         Plaintiff, DALE E. FREDRICKS and defendants RICHARD D. LEE and THOMAS L.

22 KIRKHAM, JR., for good cause, stipulate to extend the upcoming deadlines for the following motions
23 by ten (10) days, each.
24         Specifically, on February 10, 2023, Plaintiff filed a Motion to Disqualify Morgan, Lewis &

25 Bockius LLP (“Morgan Lewis”). (#14). On February 24, 2023, Defendants filed an opposition. The
26 Reply is currently due on March 3, 2023. Subject to Court approval, the parties stipulate and agree
27 that good cause exists for the Reply to be filed on or before March 13, 2023.
28         On February 27, 2023, Plaintiff filed a Motion to Remand. (#25). The Opposition is currently


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 1 due on March 13, 2023. Subject to Court approval, the parties stipulate and agree that good cause
 2 exists to extend the date the Opposition is due to March 23, 2023.
 3           IT IS SO STIPULATED.
 4
      Dated: March 2, 2023                        Dated: March 2, 2023
 5
      GUNDERSON LAW FIRM                          FENNEMORE CRAIG, P.C.
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 7
      By:     /s/ Catherine A. Reichenberg        By:      /s/ Leslie Bryan Hart
 8          Mark H. Gunderson, Esq.                      Leslie Bryan Hart, Bar No. 4932
            Nevada State Bar No. 2134                    7800 Rancharrah Parkway
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            Reno, NV 89509                               lhart@fennemorelaw.com
11          Attorneys for Plaintiff Dale E.              Attorneys for Defendants Richard D. Lee and
            Fredericks                                   Thomas L. Kirkham, Jr.
12
                                                  Dated: March 2, 2023
13
                                                  MORGAN, LEWIS & BOCKIUS LLP
14
15
16                                                By:      /s/ Nicholas B. Pfeiffer
                                                         Michael D. Weil (pro hac pending)
17                                                       Robert H. O’Leary (pro hac pending)
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21                                                       cole.pfeiffer@morganlewis.com
                                                         Attorneys for Defendants Richard D. Lee and
22                                                       Thomas L. Kirkham, Jr.

23
24                                                ORDER
25            IT IS SO ORDERED.
26            DATED this 3rd day of March, 2023                  _______________________________
                                                                 LARRY R. HICKS
27                                                               UNITED STATES DISTRICT JUDGE
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